        Case 9:17-cr-00009-DLC Document 86 Filed 06/23/17 Page 1 of 3
                                                                          FILED
                                                                           JUN 23 2017
                                                                           Clerk, U.S Courts
                                                                           District Of Montana
                                                                            Missoula Division


                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,
                                                      CR 17-09-M-DLC-2
                      Plaintiff,
                                                             ORDER
        vs.

 IRVING HERNANDEZ-LOPEZ,

                      Defendant.


      TIDS MATTER comes before the Court on the United States' Motion for

Preliminary Order of Forfeiture. The Court having read said motion and being

fully advised in the premises finds:

      THAT the United States and the Defendant, IRVING

HERNANDEZ-LOPEZ, entered into a plea agreement that provides a factual basis

and cause to issue a forfeiture order under 21 U.S.C. § 853;

      THAT prior to the disposition of the assets, the United States Marshal's

Service, or its designated sub-custodian, is required to seize the forfeited property;

and


                                          1
        Case 9:17-cr-00009-DLC Document 86 Filed 06/23/17 Page 2 of 3



      THAT 21 U.S.C. § 853(n)(l) requires that third parties who may have an

interest in the property receive notice, via publication, or to the extent practical,

direct written notice of the forfeiture and the United States' intent to dispose of the

property.

      THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED:

      THAT Plaintiffs Unopposed Motion for Forfeiture of Property

(Preliminary) (Doc. 78) is GRANTED;

      THAT the Defendant, IRVING HERNANDEZ-LOPEZ'S, interest in any

real or personal property derived from any proceeds obtained, directly and

indirectly, as a result of the violation of Count III of the Indictment, and any

property traceable to such property, is forfeited to the United States in accordance

with 21 U.S.C. § 853. That property consists specifically of the following:

      • $2,413.00 in United States Currency, and

      •A Rossi .357 Magnum Revolver, Serial Number G0762654;

      THAT the United States Department Marshal's Service, or its designated

sub-custodian, is directed to seize the property subject to forfeiture and further to

make a return as provided by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on

                                           2
        Case 9:17-cr-00009-DLC Document 86 Filed 06/23/17 Page 3 of 3



an official government internet site (www.forfeiture.gov) for at least 30

consecutive days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions, notice of the Court's

Preliminary Order and the United States' intent to dispose of the property in such

manner as the Attorney General of the United States may direct, pursuant to 21

U.S.C. § 853(n)(l), and to make its return to this Court that such action has been

completed; and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n)(7) and

Fed. R. Crim. P. 32.2(c)(2), in which all interests will be addressed.

      DATED this Z?,VJ.day of June, 2017..




                                       Dana L. Christensen, Chief Judge
                                       United States District Court




                                          3
